











COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





LOUIS TERRANCE SMITH,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

THE STATE OF TEXAS,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee. 

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No. 08-08-00042-CR

Appeal from
&nbsp;203rd District Court

of Dallas County, Texas

(TC # F-0572492-P)



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&nbsp;

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O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Louis Terrance Smith appeals his conviction of unlawful possession of body armor by a
felon.  A jury found Appellant guilty and the trial court assessed his punishment at a fine of $500 and
imprisonment for a term of two years.  The court ordered that the sentence run consecutively and
begin only when the judgment and sentence in cause number F-0572491-P


 has been served.  We
reform the judgment to delete the cumulation order requiring that the sentence in this case run
consecutively with the unlawful possession of a firearm by a felon case (Cause No. F-0572491-P). 
We further reform the judgment to order that the sentence in this case shall run concurrently with
the sentence in cause number F-0572491-P, but shall run consecutively with and begin only when
the judgment and sentence in cause number F-0572457-P


 has been served.  We affirm the judgment
as so reformed.
FACTUAL AND PROCEDURAL BACKGROUND
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On December 6, 2004, Appellant was convicted of delivery of a controlled substance and
sentenced to two years in state jail, probated for five years.  On the same date, he was also convicted
of possession with intent to deliver a controlled substance and sentenced to imprisonment for a term
of ten years, probated for five years.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On June 10, 2005, Detective Jason Cox of the Dallas Police Department executed a search
and arrest warrant at Appellant’s apartment.  After Cox and his entry team opened the front door,
Cox observed Appellant sitting on a couch as he entered the apartment.  As Appellant ran into the
kitchen, Detective Cox noticed a pistol on the couch.  Cox confronted Appellant in the kitchen and
attempted to get him on the ground so that another officer could make the arrest.  Appellant
attempted to reach for his waistband and his mouth as he struggled with the officers; he was
eventually handcuffed with the help of “two or three more” police officers.  As he was led to the
ground floor of the apartment complex, officers noticed that Appellant was choking and called an
ambulance.  Officer Mark Underwood, alerted that Appellant was unconscious, retrieved three
baggies of cocaine from Appellant’s throat after performing a “finger sweep.”


  CPR was performed
on Appellant and he later regained consciousness at the hospital. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Appellant’s kitchen, Detective Cox discovered a rock of crack cocaine on a scale and a
container with a false bottom.  A bag of marijuana was found in the cabinet and small glass vials,
normally used to store PCP or codeine, were found above the stove.  Cox also recovered a loaded
pistol on the couch, a set of two-way radios, a bullet proof vest, and a utility bill in Appellant’s
name.  The address on the bill, 9855 Shadow Way, Apartment 2351, matched the address on the
search and arrest warrant.  Officers also seized approximately $1,100 from the apartment.  Evidence
admitted at trial established that Appellant’s apartment fell within the drug-free zone surrounding
Audelia Creek Elementary School. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A grand jury indicted Appellant for possession of cocaine with intent to deliver, possession
of a firearm by a felon, and possession of body armor by a felon.  The three cases were tried together
and a jury returned a guilty verdict in each case.  In the possession of cocaine with intent to deliver
case (F-0572457-P), the jury affirmatively answered two special issues, finding that Appellant used
or exhibited a deadly weapon and he committed the offense in a drug-free zone.  The trial court
assessed punishment of:  (1) fifteen years’ imprisonment and a $500 fine in the possession of
cocaine&nbsp;with intent to deliver case (Cause No. F-0572457-P); (2) five years’ imprisonment and a
$500 fine in the unlawful possession of a firearm case (Cause No. F-0572491-P); and (3)
two&nbsp;years’&nbsp;imprisonment and a $500 fine in the unlawful possession of body armor case (Cause No.
F-0572492-P).  The court orally ordered all three sentences to run consecutively with the possession
of cocaine with intent to deliver case served first, the unlawful possession of a firearm case served
second, and the unlawful possession of body armor served third.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The written judgments entered in the three cases are not consistent with the oral
pronouncement of sentence.  The written judgment in the possession of a firearm case (Cause No.
F-0572491-P) orders that the sentence shall run consecutively and shall begin only when the
judgments and sentences in both cause numbers F-0572457-P and F-0572492-P have ceased to
operate.  In effect, the written judgment makes the sentence in the possession of a firearm case the
third sentence to be served rather than the second as the court pronounced at sentencing.  The written
judgment in the unlawful possession of body armor case (Cause No. F-0572492-P) orders that the
sentence shall run consecutively and shall begin only when the judgment and sentence in cause
number F-0572491-P has ceased to operate.  That comports with the pronouncement of sentence but
conflicts with the written judgment entered in cause number F-0572491-P.  Finally,&nbsp;the judgment
in the possession of cocaine with intent to deliver case (Cause No. F-0572457-P) orders that the
sentence run concurrently. That portion of the judgment is contrary to the trial court’s oral
pronouncement of sentence.  This appeal follows.
CONSECUTIVE SENTENCES
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Point of Error One, Appellant contends that the trial court erred in ordering his sentences
to be served consecutively because Texas Penal Code § 3.03 prohibits such cumulation.  The State
agrees with Appellant that the sentences in the unlawful possession of a firearm by a felon (Cause
No. F-0572491-P) and unlawful possession of body armor by a felon (Cause No. F-0572492-P) must
run concurrently.  It maintains, however, that the sentence in the possession of cocaine with intent
to deliver case (Cause No. F-0572457-P) must run consecutively because Texas Health and Safety
Code § 481.134(h), not Texas Penal Code § 3.03, controls.
Statutory Construction
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Courts are to construe a statute literally and according to its plain language, unless that
language is ambiguous or interpretation would lead to absurd results that the legislature could not
have intended.  Thompson v. State, 236 S.W.3d 787, 792 (Tex.Crim.App. 2007), citing Boykin v.
State, 818 S.W.2d 782, 785 (Tex.Crim.App. 1991).  We assume that the Legislature intended a just
and reasonable result.  See Tex.Gov’t Code Ann. § 311.021(3)(Vernon 2005).  If a general
provision conflicts with a special or local provision, the provisions shall be construed, if possible,
so that effect is given to both.  Id. § 311.026(a).  If the conflict between the two provisions is
irreconcilable, the special or local provision prevails as an exception to the general provision, unless
the general provision is the later enactment and the manifest intent is that the general provision
prevail.  Id. § 311.026(b).
Texas Penal Code § 3.03
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When the accused is found guilty of more than one offense arising out of the same criminal
episode, a sentence for each offense for which he has been found guilty shall be pronounced. 
Tex.Pen.Code Ann. § 3.03(a)(Vernon 2003).  The sentences shall run concurrently, provided they
do not fall within the exceptions set forth in Subsection (b).  Id.  The exceptions stated in § 3.03(b)
are inapplicable here.  See id.  Consequently, the trial court erred in ordering the sentence in the
unlawful possession of body armor case to run consecutively with the sentence in the unlawful
possession of a firearm case. 
Health and Safety Code
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Section 481.102 of the Texas Health and Safety Code lists cocaine under “Penalty Group 1." 
Tex.Health&amp;Safety Code Ann. § 481.102(3)(D)(Vernon 2003).  A person commits an offense
if he knowingly manufactures, delivers, or possesses with intent to deliver a controlled substance
listed in Penalty Group 1.  Id. § 481.112(a).  An offense under Subsection (a) is a felony of the first
degree if the amount of the controlled substance to which the offense applies is four grams or more,
but less than two-hundred grams.  Id. § 481.112(d).  Appellant’s conviction for possession with
intent to deliver cocaine does not satisfy the criteria to run consecutively under Section 3.03(b) of
the Texas Penal Code.  See Tex.Pen.Code Ann. § 3.03(b). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When certain offenses are committed in a drug-free zone, punishment for the offenses may
be enhanced.  See Tex.Health&amp;Safety Code Ann. § 481.134 (Vernon 2003).  Drug-free zones
include schools, youth centers, public swimming pools, video arcades, and playgrounds.  See id.  The
minimum term of confinement or imprisonment for an offense otherwise punishable under Section
481.134(c) is increased by five years and the maximum fine for the offense is doubled if it is shown
that the offense was committed within one-thousand feet of a school.  Id. § 481.134(c).  Punishment
that is increased for a conviction for an offense listed under Section 481.134 may not run
concurrently with punishment for a conviction under any other criminal statute.  Id. § 481.134(h). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Based on the plain language of Section 481.134, Appellant’s sentence for possession of
cocaine with intent to deliver must run consecutively with the sentences in the other two cases.  See
Tex.Health&amp;Safety Code Ann. § 481.134; Thompson, 236 S.W.3d at 792.  The special provision
of Section 481.134(h) prevails over the general provision of Section 3.03(a) of the Texas Penal
Code.  Assuming the legislature intended a just and reasonable result when enacting the Texas
Health and Safety Code, the Legislature did not manifestly intend for Section 3.03(a) to prevail. 
Tex.Gov’t Code Ann. § 311.026(a).  Appellant’s sentence for possession with intent to deliver
cocaine was punishable under Section 481.134(d) of the Texas Health and Safety Code, and the jury
found that his apartment fell within the drug-free zone surrounding Audelia Creek Elementary
School.  Id. § 481.134(d).  Appellant’s convictions for unlawful possession of a firearm by a felon
and unlawful possession of metal or body armor by a felon are both punishable under other criminal
statutes.  See Tex.Penal Code Ann. § 46.04(a)(Vernon Supp. 2009); Tex.Penal Code Ann.
§&nbsp;46.041 (Vernon 2003).  Thus, the trial court did not err in ordering that Appellant’s sentence in the
possession of cocaine with intent to deliver case run consecutively with the sentences in his other
two convictions.  Point of Error One is sustained in part and overruled in part.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having sustained Point of Error One in part, we reform the judgment to delete the portion 
of the cumulation order requiring that the sentence in this case run consecutively with the sentence 
in the unlawful possession of a firearm by a felon case (Cause No. F-0572491-P).


  We further
reform the judgment to order that the sentence in this case shall run concurrently with the sentence
in cause number F-0572491-P, but shall run consecutively with and begin only when the judgment
and sentence in cause number F-0572457-P has been served.  The judgment, as reformed, is
affirmed.

January 20, 2010&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;                                                                         
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ANN CRAWFORD McCLURE, Justice

Before Chew, C.J., McClure, J., and Barajas, C.J. (Ret.)
Barajas, C.J. (Ret.), sitting by assignment

(Do Not Publish)


